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                        IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,


                       Plaintiff,


v.                                                           Case No. CR 17-02558 MV


ARTHUR PERRAULT,


                       Defendant.

                   DEFENDANT PERRUALT’S AMENDED PROPOSED
                        QUESTIONS FOR JUROR VOIR DIRE

       Defendant Arthur Perrault, by and through counsel, Samuel L. Winder, Romero &

Winder, P.C., respectfully requests, pursuant to Rule 24(a) of the Federal Rules of Criminal

Procedure, that the Court include the following questions in its examination of prospective

jurors, if not normally asked by the Court. The Court is further requested to allow counsel for

counsel for the Defendant to pursue more detailed questioning if further inquiry is appropriate

and, if desirable, to conclude with an inquiry as to whether the particular fact or circumstances

would influence a juror in favor or against either the United States or the Defendant. The Court is

requested to invite jurors to approach the bench to respond outside the hearing of the rest of the

panel if the prospective juror so desires.

1.     Introduction of the parties:

a.     Seated at the Defendant's table are Samuel L. Winder, Mr. Arthur Perrault, and Mr.

       Richard Baca. I will be trying this case on behalf of Mr. Perrault. I am a law partner with

       Joe Romero, Jr. whose business is at 1905 Lomas Blvd., NW, Do any of you, your


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       relatives, or close friends, to the best of your knowledge, know me or Mr. Joe Romero?

       Mr. Richard Baca works on behalf of Mr. Perrault as an investigator. Do any of you,

       your relatives, or close friends, to the best of your knowledge, know Mr. Richard Baca?

b.     Does any member of the panel know my client, Mr. Perrault?

2.     This case involves the prosecution of my client with aggravated sexual abuse and abusive

       sexual contact.

a.     Do you any of you know anything about this case or read about this case in the

       newspaper, television or on the internet. If so, what do you know about the case?

b.     If selected to serve as a juror, will you be able to set aside this prior information and

       decide the case solely on the evidence presented in the courtroom?

c.     Is there anything about the prior information you possess that would prevent you from

       being a fair and impartial juror for both sides?

d.     Is there anything about the nature of these charges that would cause you a problem if you

       were chosen as a juror?

3.     There will be testimony in this case from individuals employed with the Federal Bureau

of Investigation. Has any member of the jury panel or a close friend or a family member ever

worked for or had any dealings with either of the FBI?

a.     Please state the nature of your relationship with that person.

b.     What was the nature of your dealings?

c.     When and where was it?

d.     Is there anyone here who holds strong feelings for the Federal Bureau of Investigation or

       for any other investigative services with the Air Force?

e.     Is there anything about that experience that will prevent you from serving as a fair and



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       impartial juror in this case?

f.     Would any of you automatically believe the testimony of an FBI Agent based upon the

       fact the she or he in an FBI Agent?

g.     Would any of you automatically not believe the testimony of an FBI Agent based upon

       the fact she or is an FBI Agent?

h.     Have any of you heard of media reports regarding FBI Agents who have not provided

       truthful testimony in a legal proceeding or before Congress [I might provide specific

       examples of an FBI Agent that has lied and reprimanded for lying]? What are your

       thoughts regarding an FBI Agent who might lie? Regarding media reports that you may

       have heard, would you hold that against an FBI Agent who testified in this case? Why

       or why not?

4.     There will be testimony about alleged sexual abuse. Specifically, the United States is

claiming that Mr. Perrault molested a child. Is there anyone that would be uncomfortable just

listening to the facts of this case? Is there a better case for you to sit on as a juror? Would the

allegation cause you to believe that you would not be fair or impartial? Have any of you had

friends or relatives that have either been victims or alleged perpetrators of child sexual abuse or

child molestation?

a.     Please state the nature of your relationship with that person.

b.     Please describe what you experienced?

c.     When and where did this occur?

d.     Is there anything about that experience that will prevent you from serving as a fair and

       impartial juror in this case?

5.     Has anyone ever been falsely accused of something horrible that you did not do? If so



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what happened? What were the consequences?

6.      In order to prove the charges in this case, the Government must present evidence to

support the charges. Much of the evidence in this case will come to you in the form of testimony

from the witness stand. I am now going to read to you a list of potential witnesses in this case

and also the names of persons who may be referred to during the testimony. If you hear the

name of a person that you believe you know, please raise your hand. [Read Defendant’s witness

list]

a.      How do you know the witness?

b.      How long have you known him/her?

c.      Would you be able to apply the same standard in evaluating that person's credibility that

        you apply to all other witnesses?

d.      Do you believe your relationship or acquaintance would affect your ability to be a fair

        and impartial juror?

7.      As you have heard, some of the witnesses that will be called by the Government are law

enforcement officers. Is there any member of the panel who would automatically believe all of

an officer or agent's testimony solely because he or she is an officer, without applying the same

set of factors that you would apply to the other witnesses?

a.      Is there any member of the panel who, because of some personal experience or some

        personal belief, would automatically believe the testimony of a law enforcement officer

        solely because he or she is an officer?

8.      Have any members of this jury panel ever served as a juror in any trial, either in state

court or federal court? If so:

a.      Was it in state or federal court?



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b.     Was it a civil or criminal trial?

c.     When was the trial?

d.     Did the jury reach a verdict in that case?

e.     What result was reached?

f.     Were you the foreperson of that jury?

g.     If more than one case, how many cases have you served?

h.     In any of the criminal cases you heard, were any burdens placed on you that would make

       it difficult for you to sit on future cases, or did it make you cynical about criminal trials?

i.     What opinion(s) did you form about the court, lawyers, jury system as a result of your

       prior jury experience [follow up questions]

j.     Those of you who have served on a jury have probably been instructed on

       what lawyers call “the burden of proof”. The Court will instruct you regarding “the

       burden of proof.” [I will read to them the 10th Circuit Pattern Jury Instruction for burden

       of proof]. Do you promise to follow that instruction?

9.     Have any members of this jury panel ever served on a grand jury, either in state or federal

court? If so:

a.     Was it in state or federal court?

b.     When did you serve?

10.    Another way that people can become familiar with the criminal justice system is to be the

victim of a crime or to have a family member who was the victim of a crime. Has any member

of this jury panel, or has any member of your immediate family or any close personal friend ever

been the victim of a crime? If so:

a.     Briefly describe the nature of that crime.



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b.      When was that crime committed?

c.      Was anyone ever charged with the commission of that crime?

d.      Were you satisfied with the services of the law enforcement agency?

e.      Is there anything about that experience that would prevent you from sitting in this case as

        a fair and impartial juror?

11.     Another way that a person can become familiar with the criminal justice system is to

have a close friend or immediate family member arrested, charged or convicted of a crime, or

to have been accused or arrested for a crime. Is there anyone who has had that experience? If

so:

a.      Without naming names, please state whether it was you, a close friend or family member.

b.      What was the nature of the situation?

c.      When did it occur?

d.      Was the person arrested, charged or convicted?

e.      Was he or she required to spend any time in jail or prison? Is he or she in or out of prison

        at the present time?

f.      Is there anything about that experience that would prevent you from rendering a fair and

        impartial verdict in this case?

12.     With regard to lawsuits generally, have any of you or any family member or close

friend even been a party in a lawsuit?

a.      How did you feel about the experience?


13.     Is any member of the jury panel employed by the United States Government or any

agency of the United States Government, or is any member of your family so employed? If so,

please state:

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a.      Who is so employed?

b.      By what agency?

c.      What is the nature of the employment?

d.      Is there anything about that employment that would prevent you from sitting as a fair and

        impartial juror in this case?

14.     Has any member of the jury panel ever been employed by a law enforcement

agency, or has any member of your family or a close friend been so employed? If so,

please state:

a.      Who was so employed?

b.      By what agency?

c.      What was the nature of the employment?

d.      Is there anything about that employment that would prevent you from sitting

        as a fair and impartial juror in this case?

15.     Has any member of the jury panel, or one of your close relatives, ever received any legal

training or courses, (including business law), in law enforcement, criminal justice, administration

of justice or law, or ever been employed in a law office? If so:

a.      What was the nature of such training or employment?

b.      Is there anything about that training which would influence your decision in

        any way in this case?

16.     Have you or anyone close to you ever been asked to testify in court as an expert witness

or a witness with special knowledge or training? If yes, please explain.

a.      In this case you hear evidence that will rely on the memory of witnesses regarding

incidents that occurred over 30-50 years ago. Do you believe that memory can fade with time?



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What other factors might contribute to whether a person might remember or might not remember

an event?

b.        Do you believe that there can be false sexual abuse allegations in a case? What do you

think might be the factors regarding a false sexual abuse allegation? Could personal gain be a

factor?

17.       The members of this panel selected as members of the jury in the case today will be the

judges of the facts and must accept the law as the court explains it in its charge. Is there any

member of the panel who could not accept this duty?

18.       The trial of this case may last two weeks. Is there any member of the panel who could

not be available for a trial of this length or who would find it a problem?

19.       If you are qualified as jurors in this case, you will be required to make a solemn oath that

you will try this case and render a verdict based on the evidence and according to the instructions

of the court. Is there a member of the panel who could not take this oath?

20.       Does anyone hold any religious, philosophical, political, or personal beliefs that would

make it impossible for you to return a verdict of guilty even if the evidence and instructions

supported such a verdict?

21.       Is there any member of the panel who knows of any reason whatsoever why he or she

could not sit as a juror in this case with absolute impartiality to both sides, either because of

some bias or prejudice personally as to the Mr. Perrault or as to the government, or any other

reason?

22.       The members of this panel selected as members of the jury in the case today will be the

judges of the facts and must accept the law as the Court explains it in its charge. Is there any

member of the panel who could not accept this duty?



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23.    Is there any member of the panel who for any other reason, whether I have touched on it

or not, would have difficulty sitting in judgment of the facts in this case?


                                                      Respectfully submitted,

                                                      /s/ Samuel. L. Winder
                                                      Samuel L. Winder, Esq.
                                                      Attorney for Defendant Perrault
                                                      Romero & Winder, P.C.
                                                      1905 Lomas Blvd., NW
                                                      Albuquerque, NM 87104
                                                      (505) 843-9776


I HEREBY CERTIFY that on the 26th day of March, 2019, I filed the foregoing electronically
through the CM/ECF system, which caused the following parties or counsel to be served by
electronic means, as more fully reflected on the Notice of Electronic Filing.

Holland Kastrin, AUSA
Sean Sullivan, AUSA

/s/ Samuel L. Winder
Samuel L. Winder




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